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 8
 9
                                UNITED STATES DISTRICT COURT
10
11                            EASTERN DISTRICT OF CALIFORNIA

12                                               )
     UNITED STATES OF AMERICA,                   )   Case No. 2:12-CR-294-TLN
13                                               )
14                        Plaintiff,             )   STIPULATION AND ORDER
                                                 )   CONTINUING BART VOLEN’S
15          v.                                   )   SENTENCING TO SEPTEMBER 15, 2016
                                                 )
16   BART VOLEN, et al.,                         )
17                                               )
                          Defendant.             )
18                                               )
                                                 )
19                                               )
20
            Defendant Bart Volen’s sentencing is set for August 18, 2016. Matters related to
21
     Mr. Volen’s sentencing have arisen and the parties request additional time to
22
23   investigate and meet and confer on these matters. Assistant U.S. Attorney Michael

24   Beckwith is expected to be in trial in another matter from August 22nd through August
25
     30, 2016. Therefore, the parties are requesting Mr. Volen’s sentencing be continued to
26
     September 15, 2016.
27
28




     STIPULATION AND ORDER CONTINUING BART VOLEN’S SENTENCING TO 9/15/16 - 1
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 1          Accordingly, the parties stipulate that Mr. Volen’s sentencing be continued to
 2   September 15, 2016 at 9:30 A.M.
 3
            IT IS SO STIPULATED.
 4
        DATED: August 12, 2016                               /s/ Michael Beckwith
 5
                                                      Assistant U.S. Attorney
 6                                                    U.S. Attorney’s Office

 7      DATED: August 12, 2016                               /s/ Laurel Headley
                                                      Arguedas, Cassman & Headley
 8
                                                      Attorneys for Defendant Bart Volen
 9
10                                             ORDER
11
            For the reasons stated above, the Court finds there good cause to continue
12
     Defendant Bart Volen’s sentencing from August 18, 2016 to September 15, 2016 at
13
14   9:30 a.m.

15      IT IS SO ORDERED.
16   DATED: August 15, 2016
17                                                      Troy L. Nunley
                                                        United States District Judge
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     STIPULATION AND ORDER CONTINUING BART VOLEN’S SENTENCING TO 9/15/16 - 2
